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                                 UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

      WAYMO LLC,                               CASE NO. 3:17-cv-00939-WHA

                    Plaintiff,                 PLAINTIFF WAYMO’S FEBRUARY 2,
                                            2018 LIST OF NEXT SEVEN WITNESSES
           vs.

    UBER TECHNOLOGIES, INC.;
 OTTOMOTTO LLC; OTTO TRUCKING
    LLC,

              Defendants.
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                                                               CASE NO. 3:17-cv-00939-WHA
                                                         WAYMO’S LIST OF NEXT SEVEN WITNESSES
      Case 3:17-cv-00939-WHA Document 2600 Filed 02/02/18 Page 2 of 3



 1          Pursuant to this Court’s December 4, 2017 Order (Dkt. 2340) and the parties' stipulation

 2 (1/30/17 Hearing Tr., 106:8-19), Plaintiff Waymo LLC (“Waymo”) hereby submits the following

 3 rolling list of its next seven trial witnesses:

 4                  1.      John Krafcik

 5                  2.      Dmitri Dolgov

 6                  3.      Gary Brown

 7                  4.      William Grossman

 8                  5.      John Bares (by deposition)

 9                  6.      Travis Kalanick

10                  7.      Brian McClendon (by deposition)

11          Pursuant to this Court's January 18, 2018 Order (Dkt. 2492), Waymo states that it currently

12 intends to request closure of the courtroom for approximately the final 10 minutes of Dr. Dolgov’s

13 testimony because he will be discussing the substance of Waymo’s asserted trade secrets. Waymo

14 intends to request closure of the courtroom for the final 9 minutes of John Bares’ testimony

15 because he will be discussing the substance of Waymo’s asserted trade secrets.

16

17   Dated: February 2, 2018                         QUINN EMANUEL URQUHART & SULLIVAN, LLP

18                                                    By /s/ Charles K. Verhoeven
19                                                       Charles K. Verhoeven
                                                         Attorneys for WAYMO LLC
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                                                        -2-                  CASE NO. 3:17-cv-00939-WHA
                                                                    WAYMO’S LIST OF NEXT SEVEN WITNESSES
      Case 3:17-cv-00939-WHA Document 2600 Filed 02/02/18 Page 3 of 3



 1                           ATTESTATION OF E-FILED SIGNATURE
 2         I, Charles K. Verhoeven, am the ECF User whose ID and password are being used to file

 3 this Plaintiff Waymo's February 2, 2018 List of Next Seven Witnesses.

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 5 Dated: February 2, 2018                                  /s/ Charles K. Verhoeven
                                                        Charles K. Verhoeven
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                                                                  WAYMO’S LIST OF NEXT SEVEN WITNESSES
